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Date       Area              District   First-Class    Marketing Mail
10/24/2020                                      86.09%            89.13%
10/26/2020                                      88.45%            87.96%
10/27/2020                                      60.78%            89.96%
10/28/2020                                      78.82%            87.36%
10/29/2020                                      88.84%            87.09%
10/30/2020                                      86.59%            84.10%

10/24/2020   Capital Metro                    79.65%             79.97%
10/24/2020   Eastern                          80.24%             84.16%
10/24/2020   Great Lakes                      86.11%             90.06%
10/24/2020   Northeast                        89.05%             92.94%
10/24/2020   Pacific                          92.41%             96.15%
10/24/2020   Southern                         87.54%             88.36%
10/24/2020   Western                          87.27%             92.38%
10/26/2020   Capital Metro                    82.12%             74.18%
10/26/2020   Eastern                          82.48%             79.83%
10/26/2020   Great Lakes                      88.51%             90.44%
10/26/2020   Northeast                        92.03%             92.81%
10/26/2020   Pacific                          94.30%             96.34%
10/26/2020   Southern                         89.60%             91.31%
10/26/2020   Western                          90.36%             92.08%
10/27/2020   Capital Metro                    51.45%             79.40%
10/27/2020   Eastern                          52.54%             85.58%
10/27/2020   Great Lakes                      57.75%             89.50%
10/27/2020   Northeast                        70.78%             93.12%
10/27/2020   Pacific                          70.53%             96.60%
10/27/2020   Southern                         66.24%             92.34%
10/27/2020   Western                          61.10%             91.88%
10/28/2020   Capital Metro                    67.42%             73.87%
10/28/2020   Eastern                          74.28%             80.76%
10/28/2020   Great Lakes                      75.82%             86.42%
10/28/2020   Northeast                        85.46%             92.17%
10/28/2020   Pacific                          87.11%             96.82%
10/28/2020   Southern                         81.07%             90.88%
10/28/2020   Western                          81.47%             90.35%
10/29/2020   Capital Metro                    85.90%             73.92%
10/29/2020   Eastern                          81.18%             80.54%
10/29/2020   Great Lakes                      88.08%             85.12%
10/29/2020   Northeast                        92.97%             92.28%
10/29/2020   Pacific                          93.92%             96.76%
10/29/2020   Southern                         90.59%             89.71%
10/29/2020   Western                          90.90%             90.77%
10/30/2020   Capital Metro                    81.30%             70.91%
10/30/2020   Eastern                          81.29%             79.00%
10/30/2020   Great Lakes                      86.52%             80.74%
10/30/2020   Northeast                        91.41%             90.62%
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Date         Area          District             First-Class    Marketing Mail
10/30/2020   Pacific                                    91.41%            95.67%
10/30/2020   Southern                                   86.57%            85.55%
10/30/2020   Western                                    89.07%            87.87%

10/24/2020 Capital Metro   Atlanta                    83.87%             72.66%
10/24/2020 Capital Metro   Baltimore                  61.40%             75.10%
10/24/2020 Capital Metro   Capital                    76.02%             94.24%

10/24/2020 Capital Metro   Greater S Carolina         77.33%             86.01%

10/24/2020 Capital Metro   Greensboro                 76.71%             67.43%

10/24/2020 Capital Metro   Mid-Carolinas              84.99%             87.94%

10/24/2020 Capital Metro   Norther Virginia           83.69%             94.96%
10/24/2020 Capital Metro   Richmond                   82.09%             87.38%

10/24/2020 Eastern         Appalachian                90.01%             95.33%

                           Central
10/24/2020 Eastern         Pennsylvania               67.79%             59.04%

10/24/2020 Eastern         Kentuckiana                89.65%             96.80%

10/24/2020 Eastern         Norther Ohio               80.83%             74.41%

10/24/2020 Eastern         Ohio Valley                83.25%             83.71%
                           Philadelphia
10/24/2020 Eastern         Metropo                    56.34%             74.97%

10/24/2020 Eastern         South Jersey               80.10%             89.82%
10/24/2020 Eastern         Tennessee                  86.12%             89.72%
                           Western New
10/24/2020 Eastern         York                       90.06%             94.14%

                           Western
10/24/2020 Eastern         Pennsylvania               86.72%             97.84%

10/24/2020   Great Lakes   Central Illinois           84.88%             85.91%
10/24/2020   Great Lakes   Chicago                    90.85%             89.77%
10/24/2020   Great Lakes   Detroit                    71.33%             85.35%
10/24/2020   Great Lakes   Gateway                    88.24%             92.63%

10/24/2020 Great Lakes     Greater Indiana            93.10%             94.11%

10/24/2020 Great Lakes     Greater Michigan           87.31%             92.98%
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Date         Area          District         First-Class    Marketing Mail
10/24/2020   Great Lakes   Lakeland                 87.03%            93.36%
10/24/2020   Northeast     Albany                   88.09%            94.91%
10/24/2020   Northeast     Caribbean                96.98%            96.11%
                           Connecticut
10/24/2020 Northeast       Valley                 86.86%             94.82%

10/24/2020 Northeast       Greater Boston         89.56%             86.03%

10/24/2020 Northeast       Long Island            89.23%             94.16%
10/24/2020 Northeast       New York               86.76%             97.89%

                           Northern New
10/24/2020 Northeast       England                90.67%             95.64%

                           Northern New
10/24/2020 Northeast       Jersey                 88.11%             92.36%
10/24/2020 Northeast       Triboro                92.43%             95.31%

10/24/2020 Northeast       Westchester            88.59%             84.08%
10/24/2020 Pacific         Bay-Valley             93.49%             96.77%
10/24/2020 Pacific         Honolulu               90.91%             85.50%

10/24/2020 Pacific         Los Angeles            90.06%             95.74%

10/24/2020 Pacific         Sacramento             93.79%             92.23%
10/24/2020 Pacific         San Diego              92.53%             96.33%

10/24/2020 Pacific         San Francisco          94.44%             98.64%
10/24/2020 Pacific         Santa Ana              92.25%             97.42%

10/24/2020   Pacific       Sierra Coastal         91.60%             97.14%
10/24/2020   Southern      Alabama                80.48%             80.85%
10/24/2020   Southern      Arkansas               89.25%             93.71%
10/24/2020   Southern      Dallas                 91.18%             94.63%
10/24/2020   Southern      Ft. Worth              87.51%             87.74%

10/24/2020   Southern      Gulf Atlantic          78.71%             86.35%
10/24/2020   Southern      Houston                88.64%             90.11%
10/24/2020   Southern      Louisiana              91.40%             81.16%
10/24/2020   Southern      Mississippi            79.92%             89.42%
10/24/2020   Southern      Oklahoma               93.16%             94.42%
10/24/2020   Southern      Rio Grande             92.44%             92.23%

10/24/2020 Southern        South Florida          84.85%             92.75%
10/24/2020 Southern        Suncoast               89.00%             80.10%
10/24/2020 Western         Alaska                 84.20%             92.41%
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Date       Area              District             First-Class    Marketing Mail
10/24/2020 Western           Arizona                      90.04%            88.10%

10/24/2020 Western           Central Plains             88.54%             96.04%
                             Colorado/Wyomin
10/24/2020 Western           g                          74.37%             92.10%
10/24/2020 Western           Dakotas                    90.21%             96.39%
10/24/2020 Western           Hawkeye                    88.83%             93.42%

10/24/2020 Western           Mid-Americas               88.74%             89.85%

10/24/2020 Western           Nevada Sierra              91.67%             97.04%
10/24/2020 Western           Northland                  81.87%             93.48%
10/24/2020 Western           Portland                   88.52%             92.74%

10/24/2020   Western         Salt Lake City             93.04%             92.06%
10/24/2020   Western         Seattle                    86.00%             91.30%
10/26/2020   Capital Metro   Atlanta                    87.14%             62.20%
10/26/2020   Capital Metro   Baltimore                  67.44%             66.23%
10/26/2020   Capital Metro   Capital                    81.94%             95.89%

10/26/2020 Capital Metro     Greater S Carolina         72.57%             85.71%

10/26/2020 Capital Metro     Greensboro                 78.98%             59.61%

10/26/2020 Capital Metro     Mid-Carolinas              88.15%             76.59%

10/26/2020 Capital Metro     Norther Virginia           86.78%             96.00%
10/26/2020 Capital Metro     Richmond                   88.63%             90.15%

10/26/2020 Eastern           Appalachian                86.58%             90.68%

                             Central
10/26/2020 Eastern           Pennsylvania               73.16%             65.67%

10/26/2020 Eastern           Kentuckiana                88.73%             95.75%

10/26/2020 Eastern           Norther Ohio               83.18%             73.79%

10/26/2020 Eastern           Ohio Valley                87.76%             81.29%
                             Philadelphia
10/26/2020 Eastern           Metropo                    60.26%             55.74%

10/26/2020 Eastern           South Jersey               80.71%             87.15%
10/26/2020 Eastern           Tennessee                  90.07%             89.20%
                             Western New
10/26/2020 Eastern           York                       89.20%             93.97%
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Date         Area          District           First-Class     Marketing Mail

                           Western
10/26/2020 Eastern         Pennsylvania              91.24%              98.19%

10/26/2020   Great Lakes   Central Illinois          86.54%              84.49%
10/26/2020   Great Lakes   Chicago                   92.39%              91.81%
10/26/2020   Great Lakes   Detroit                   77.00%              82.89%
10/26/2020   Great Lakes   Gateway                   88.66%              93.65%

10/26/2020 Great Lakes     Greater Indiana           94.48%              94.71%

10/26/2020   Great Lakes   Greater Michigan          88.75%              94.02%
10/26/2020   Great Lakes   Lakeland                  90.36%              95.30%
10/26/2020   Northeast     Albany                    92.33%              93.41%
10/26/2020   Northeast     Caribbean                 95.03%              97.25%
                           Connecticut
10/26/2020 Northeast       Valley                    91.77%              96.02%

10/26/2020 Northeast       Greater Boston            93.20%              92.21%

10/26/2020 Northeast       Long Island               88.56%              93.53%
10/26/2020 Northeast       New York                  91.43%              97.25%

                           Northern New
10/26/2020 Northeast       England                   92.01%              95.46%

                           Northern New
10/26/2020 Northeast       Jersey                    92.91%              89.94%
10/26/2020 Northeast       Triboro                   91.72%              90.05%

10/26/2020 Northeast       Westchester               89.05%              85.91%
10/26/2020 Pacific         Bay-Valley                94.50%              97.64%
10/26/2020 Pacific         Honolulu                  92.82%              44.93%

10/26/2020 Pacific         Los Angeles               93.54%              95.39%

10/26/2020 Pacific         Sacramento                94.45%              94.06%
10/26/2020 Pacific         San Diego                 94.63%              96.91%

10/26/2020 Pacific         San Francisco             95.17%              97.60%
10/26/2020 Pacific         Santa Ana                 95.14%              97.30%

10/26/2020   Pacific       Sierra Coastal            92.70%              97.47%
10/26/2020   Southern      Alabama                   86.28%              81.70%
10/26/2020   Southern      Arkansas                  94.49%              91.40%
10/26/2020   Southern      Dallas                    91.89%              96.25%
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Date       Area              District             First-Class    Marketing Mail
10/26/2020 Southern          Ft. Worth                    89.80%            88.43%

10/26/2020   Southern        Gulf Atlantic              80.99%             85.35%
10/26/2020   Southern        Houston                    89.92%             95.97%
10/26/2020   Southern        Louisiana                  92.29%             89.22%
10/26/2020   Southern        Mississippi                81.94%             85.77%
10/26/2020   Southern        Oklahoma                   94.24%             96.47%
10/26/2020   Southern        Rio Grande                 92.61%             90.72%

10/26/2020   Southern        South Florida              87.86%             92.28%
10/26/2020   Southern        Suncoast                   91.52%             92.16%
10/26/2020   Western         Alaska                     86.50%             86.39%
10/26/2020   Western         Arizona                    92.01%             87.84%

10/26/2020 Western           Central Plains             91.92%             93.30%
                             Colorado/Wyomin
10/26/2020 Western           g                          74.67%             90.44%
10/26/2020 Western           Dakotas                    92.11%             95.61%
10/26/2020 Western           Hawkeye                    92.38%             92.84%

10/26/2020 Western           Mid-Americas               90.46%             92.34%

10/26/2020 Western           Nevada Sierra              92.99%             94.17%
10/26/2020 Western           Northland                  88.40%             91.90%
10/26/2020 Western           Portland                   92.51%             94.06%

10/26/2020   Western         Salt Lake City             93.99%             93.08%
10/26/2020   Western         Seattle                    91.67%             95.87%
10/27/2020   Capital Metro   Atlanta                    52.36%             77.23%
10/27/2020   Capital Metro   Baltimore                  28.27%             70.74%
10/27/2020   Capital Metro   Capital                    58.38%             95.55%

10/27/2020 Capital Metro     Greater S Carolina         40.33%             91.20%

10/27/2020 Capital Metro     Greensboro                 46.86%             60.74%

10/27/2020 Capital Metro     Mid-Carolinas              64.35%             72.61%

10/27/2020 Capital Metro     Norther Virginia           52.41%             96.44%
10/27/2020 Capital Metro     Richmond                   61.78%             92.10%

10/27/2020 Eastern           Appalachian                60.10%             93.38%

                             Central
10/27/2020 Eastern           Pennsylvania               59.41%             62.90%
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Date         Area          District           First-Class     Marketing Mail

10/27/2020 Eastern         Kentuckiana               70.61%              97.64%

10/27/2020 Eastern         Norther Ohio              44.47%              77.88%

10/27/2020 Eastern         Ohio Valley               49.21%              87.14%
                           Philadelphia
10/27/2020 Eastern         Metropo                   27.85%              73.48%

10/27/2020 Eastern         South Jersey              40.18%              89.02%
10/27/2020 Eastern         Tennessee                 61.32%              92.49%
                           Western New
10/27/2020 Eastern         York                      65.27%              97.15%

                           Western
10/27/2020 Eastern         Pennsylvania              68.95%              97.33%

10/27/2020   Great Lakes   Central Illinois          62.89%              89.79%
10/27/2020   Great Lakes   Chicago                   62.99%              94.43%
10/27/2020   Great Lakes   Detroit                   42.57%              76.35%
10/27/2020   Great Lakes   Gateway                   68.79%              92.33%

10/27/2020 Great Lakes     Greater Indiana           63.89%              95.72%

10/27/2020   Great Lakes   Greater Michigan          57.67%              87.33%
10/27/2020   Great Lakes   Lakeland                  52.79%              95.12%
10/27/2020   Northeast     Albany                    70.71%              93.26%
10/27/2020   Northeast     Caribbean                 92.89%              80.50%
                           Connecticut
10/27/2020 Northeast       Valley                    71.84%              93.89%

10/27/2020 Northeast       Greater Boston            63.50%              93.14%

10/27/2020 Northeast       Long Island               73.08%              96.05%
10/27/2020 Northeast       New York                  70.22%              97.27%

                           Northern New
10/27/2020 Northeast       England                   71.03%              86.53%

                           Northern New
10/27/2020 Northeast       Jersey                    65.24%              93.71%
10/27/2020 Northeast       Triboro                   82.97%              93.27%

10/27/2020 Northeast       Westchester               67.92%              93.26%
10/27/2020 Pacific         Bay-Valley                73.64%              97.17%
10/27/2020 Pacific         Honolulu                  81.86%              88.78%
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Date         Area            District             First-Class     Marketing Mail

10/27/2020 Pacific           Los Angeles                 77.35%              96.93%

10/27/2020 Pacific           Sacramento                  69.98%              93.27%
10/27/2020 Pacific           San Diego                   73.96%              96.34%

10/27/2020 Pacific           San Francisco               72.33%              98.30%
10/27/2020 Pacific           Santa Ana                   59.85%              97.99%

10/27/2020   Pacific         Sierra Coastal              71.71%              97.53%
10/27/2020   Southern        Alabama                     54.58%              89.66%
10/27/2020   Southern        Arkansas                    70.67%              92.83%
10/27/2020   Southern        Dallas                      73.93%              93.74%
10/27/2020   Southern        Ft. Worth                   70.24%              93.09%

10/27/2020   Southern        Gulf Atlantic               52.15%              86.07%
10/27/2020   Southern        Houston                     78.74%              95.42%
10/27/2020   Southern        Louisiana                   65.42%              89.85%
10/27/2020   Southern        Mississippi                 51.85%              87.25%
10/27/2020   Southern        Oklahoma                    77.65%              96.34%
10/27/2020   Southern        Rio Grande                  75.48%              95.29%

10/27/2020   Southern        South Florida               53.03%              89.76%
10/27/2020   Southern        Suncoast                    57.22%              95.54%
10/27/2020   Western         Alaska                      66.76%              90.89%
10/27/2020   Western         Arizona                     68.28%              89.99%

10/27/2020 Western           Central Plains              75.95%              96.13%
                             Colorado/Wyomin
10/27/2020 Western           g                           35.68%              86.14%
10/27/2020 Western           Dakotas                     66.68%              94.57%
10/27/2020 Western           Hawkeye                     68.73%              93.66%

10/27/2020 Western           Mid-Americas                54.61%              85.81%

10/27/2020 Western           Nevada Sierra               76.04%              96.48%
10/27/2020 Western           Northland                   54.99%              90.93%
10/27/2020 Western           Portland                    72.83%              88.05%

10/27/2020   Western         Salt Lake City              61.37%              96.43%
10/27/2020   Western         Seattle                     58.53%              97.30%
10/28/2020   Capital Metro   Atlanta                     79.53%              68.33%
10/28/2020   Capital Metro   Baltimore                   47.72%              82.88%
10/28/2020   Capital Metro   Capital                     75.69%              92.31%

10/28/2020 Capital Metro     Greater S Carolina          71.41%              86.84%
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Date         Area          District           First-Class     Marketing Mail

10/28/2020 Capital Metro   Greensboro                59.21%              49.24%

10/28/2020 Capital Metro   Mid-Carolinas             52.63%              66.03%

10/28/2020 Capital Metro   Norther Virginia          74.91%              95.06%
10/28/2020 Capital Metro   Richmond                  83.37%              89.51%

10/28/2020 Eastern         Appalachian               83.72%              91.07%

                           Central
10/28/2020 Eastern         Pennsylvania              56.44%              53.94%

10/28/2020 Eastern         Kentuckiana               89.15%              95.48%

10/28/2020 Eastern         Norther Ohio              73.72%              63.71%

10/28/2020 Eastern         Ohio Valley               80.56%              88.32%
                           Philadelphia
10/28/2020 Eastern         Metropo                   51.21%              61.74%

10/28/2020 Eastern         South Jersey              75.60%              92.89%
10/28/2020 Eastern         Tennessee                 85.34%              88.58%
                           Western New
10/28/2020 Eastern         York                      91.61%              93.74%

                           Western
10/28/2020 Eastern         Pennsylvania              83.73%              94.43%

10/28/2020   Great Lakes   Central Illinois          72.45%              88.60%
10/28/2020   Great Lakes   Chicago                   80.64%              81.39%
10/28/2020   Great Lakes   Detroit                   56.59%              74.21%
10/28/2020   Great Lakes   Gateway                   82.74%              92.24%

10/28/2020 Great Lakes     Greater Indiana           86.68%              91.15%

10/28/2020   Great Lakes   Greater Michigan          76.34%              88.64%
10/28/2020   Great Lakes   Lakeland                  78.20%              91.63%
10/28/2020   Northeast     Albany                    88.92%              95.63%
10/28/2020   Northeast     Caribbean                 96.22%              91.95%
                           Connecticut
10/28/2020 Northeast       Valley                    85.68%              93.73%

10/28/2020 Northeast       Greater Boston            88.34%              84.52%

10/28/2020 Northeast       Long Island               82.24%              92.89%
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Date       Area         District          First-Class    Marketing Mail
10/28/2020 Northeast    New York                  86.13%            95.64%

                        Northern New
10/28/2020 Northeast    England                 82.45%             92.53%

                        Northern New
10/28/2020 Northeast    Jersey                  80.91%             91.49%
10/28/2020 Northeast    Triboro                 81.88%             94.51%

10/28/2020 Northeast    Westchester             84.14%             94.03%
10/28/2020 Pacific      Bay-Valley              91.63%             96.14%
10/28/2020 Pacific      Honolulu                89.61%             91.15%

10/28/2020 Pacific      Los Angeles             88.23%             96.83%

10/28/2020 Pacific      Sacramento              85.37%             94.89%
10/28/2020 Pacific      San Diego               89.30%             98.12%

10/28/2020 Pacific      San Francisco           86.16%             98.33%
10/28/2020 Pacific      Santa Ana               83.19%             97.02%

10/28/2020   Pacific    Sierra Coastal          88.21%             96.94%
10/28/2020   Southern   Alabama                 88.58%             83.43%
10/28/2020   Southern   Arkansas                87.32%             94.83%
10/28/2020   Southern   Dallas                  77.46%             92.40%
10/28/2020   Southern   Ft. Worth               84.64%             92.75%

10/28/2020   Southern   Gulf Atlantic           77.69%             84.51%
10/28/2020   Southern   Houston                 76.24%             95.15%
10/28/2020   Southern   Louisiana               88.68%             90.53%
10/28/2020   Southern   Mississippi             78.04%             85.00%
10/28/2020   Southern   Oklahoma                91.06%             96.90%
10/28/2020   Southern   Rio Grande              86.03%             94.91%

10/28/2020   Southern   South Florida           68.18%             91.95%
10/28/2020   Southern   Suncoast                82.82%             89.26%
10/28/2020   Western    Alaska                  80.97%             90.46%
10/28/2020   Western    Arizona                 80.90%             91.17%

10/28/2020 Western      Central Plains          82.86%             93.67%
                        Colorado/Wyomin
10/28/2020 Western      g                       58.11%             77.92%
10/28/2020 Western      Dakotas                 86.36%             94.85%
10/28/2020 Western      Hawkeye                 87.43%             90.70%

10/28/2020 Western      Mid-Americas            84.01%             76.72%
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Date         Area            District             First-Class     Marketing Mail

10/28/2020 Western           Nevada Sierra               86.18%              97.00%
10/28/2020 Western           Northland                   81.24%              87.66%
10/28/2020 Western           Portland                    85.57%              91.17%

10/28/2020   Western         Salt Lake City              80.46%              97.05%
10/28/2020   Western         Seattle                     82.04%              97.09%
10/29/2020   Capital Metro   Atlanta                     90.81%              70.59%
10/29/2020   Capital Metro   Baltimore                   71.75%              75.02%
10/29/2020   Capital Metro   Capital                     87.72%              85.68%

10/29/2020 Capital Metro     Greater S Carolina          83.57%              90.25%

10/29/2020 Capital Metro     Greensboro                  80.99%              50.78%

10/29/2020 Capital Metro     Mid-Carolinas               87.42%              71.51%

10/29/2020 Capital Metro     Norther Virginia            88.76%              92.46%
10/29/2020 Capital Metro     Richmond                    91.68%              85.29%

10/29/2020 Eastern           Appalachian                 89.49%              89.76%

                             Central
10/29/2020 Eastern           Pennsylvania                63.37%              54.27%

10/29/2020 Eastern           Kentuckiana                 92.38%              95.47%

10/29/2020 Eastern           Norther Ohio                78.24%              76.25%

10/29/2020 Eastern           Ohio Valley                 86.49%              88.43%
                             Philadelphia
10/29/2020 Eastern           Metropo                     51.87%              51.87%

10/29/2020 Eastern           South Jersey                86.41%              92.55%
10/29/2020 Eastern           Tennessee                   94.45%              87.72%
                             Western New
10/29/2020 Eastern           York                        92.26%              92.94%

                             Western
10/29/2020 Eastern           Pennsylvania                92.39%              96.10%

10/29/2020   Great Lakes     Central Illinois            85.44%              86.78%
10/29/2020   Great Lakes     Chicago                     88.49%              87.27%
10/29/2020   Great Lakes     Detroit                     77.34%              70.87%
10/29/2020   Great Lakes     Gateway                     92.03%              88.87%
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Date         Area          District           First-Class     Marketing Mail

10/29/2020 Great Lakes     Greater Indiana           92.88%              92.10%

10/29/2020   Great Lakes   Greater Michigan          87.80%              92.71%
10/29/2020   Great Lakes   Lakeland                  89.86%              92.91%
10/29/2020   Northeast     Albany                    94.37%              95.41%
10/29/2020   Northeast     Caribbean                 97.17%              82.77%
                           Connecticut
10/29/2020 Northeast       Valley                    93.04%              92.76%

10/29/2020 Northeast       Greater Boston            93.36%              87.33%

10/29/2020 Northeast       Long Island               88.23%              94.67%
10/29/2020 Northeast       New York                  91.61%              97.21%

                           Northern New
10/29/2020 Northeast       England                   93.95%              87.91%

                           Northern New
10/29/2020 Northeast       Jersey                    93.58%              93.81%
10/29/2020 Northeast       Triboro                   90.40%              93.68%

10/29/2020 Northeast       Westchester               93.46%              92.49%
10/29/2020 Pacific         Bay-Valley                93.61%              96.31%
10/29/2020 Pacific         Honolulu                  93.04%              96.19%

10/29/2020 Pacific         Los Angeles               94.51%              96.25%

10/29/2020 Pacific         Sacramento                94.11%              95.08%
10/29/2020 Pacific         San Diego                 94.12%              96.46%

10/29/2020 Pacific         San Francisco             92.79%              98.40%
10/29/2020 Pacific         Santa Ana                 93.72%              98.08%

10/29/2020   Pacific       Sierra Coastal            94.33%              97.41%
10/29/2020   Southern      Alabama                   92.07%              73.92%
10/29/2020   Southern      Arkansas                  93.84%              89.13%
10/29/2020   Southern      Dallas                    90.35%              93.91%
10/29/2020   Southern      Ft. Worth                 91.95%              90.05%

10/29/2020   Southern      Gulf Atlantic             86.79%              77.40%
10/29/2020   Southern      Houston                   85.98%              95.31%
10/29/2020   Southern      Louisiana                 92.68%              85.03%
10/29/2020   Southern      Mississippi               92.31%              82.48%
10/29/2020   Southern      Oklahoma                  91.25%              94.96%
10/29/2020   Southern      Rio Grande                93.42%              95.24%
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Date         Area            District             First-Class     Marketing Mail

10/29/2020   Southern        South Florida               87.74%              91.80%
10/29/2020   Southern        Suncoast                    93.95%              92.64%
10/29/2020   Western         Alaska                      79.84%              96.77%
10/29/2020   Western         Arizona                     94.45%              88.99%

10/29/2020 Western           Central Plains              93.09%              93.56%
                             Colorado/Wyomin
10/29/2020 Western           g                           72.03%              77.61%
10/29/2020 Western           Dakotas                     92.62%              94.53%
10/29/2020 Western           Hawkeye                     94.05%              94.08%

10/29/2020 Western           Mid-Americas                92.05%              82.55%

10/29/2020 Western           Nevada Sierra               94.06%              96.59%
10/29/2020 Western           Northland                   90.79%              90.29%
10/29/2020 Western           Portland                    93.75%              95.55%

10/29/2020   Western         Salt Lake City              93.57%              95.86%
10/29/2020   Western         Seattle                     91.27%              96.89%
10/30/2020   Capital Metro   Atlanta                     86.57%              54.14%
10/30/2020   Capital Metro   Baltimore                   72.27%              87.79%
10/30/2020   Capital Metro   Capital                     85.30%              91.19%

10/30/2020 Capital Metro     Greater S Carolina          72.45%              83.82%

10/30/2020 Capital Metro     Greensboro                  74.22%              54.96%

10/30/2020 Capital Metro     Mid-Carolinas               83.74%              65.32%

10/30/2020 Capital Metro     Norther Virginia            84.73%              93.87%
10/30/2020 Capital Metro     Richmond                    89.48%              83.59%

10/30/2020 Eastern           Appalachian                 91.31%              88.60%

                             Central
10/30/2020 Eastern           Pennsylvania                67.46%              47.31%

10/30/2020 Eastern           Kentuckiana                 89.96%              92.77%

10/30/2020 Eastern           Norther Ohio                76.25%              62.70%

10/30/2020 Eastern           Ohio Valley                 84.97%              88.01%
                             Philadelphia
10/30/2020 Eastern           Metropo                     62.85%              65.21%
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Date         Area          District           First-Class     Marketing Mail

10/30/2020 Eastern         South Jersey              86.25%              90.99%
10/30/2020 Eastern         Tennessee                 89.45%              84.08%
                           Western New
10/30/2020 Eastern         York                      93.26%              95.28%

                           Western
10/30/2020 Eastern         Pennsylvania              89.45%              94.69%

10/30/2020   Great Lakes   Central Illinois          82.12%              88.35%
10/30/2020   Great Lakes   Chicago                   90.85%              89.22%
10/30/2020   Great Lakes   Detroit                   74.99%              56.18%
10/30/2020   Great Lakes   Gateway                   90.60%              86.24%

10/30/2020 Great Lakes     Greater Indiana           93.22%              88.68%

10/30/2020   Great Lakes   Greater Michigan          82.06%              80.93%
10/30/2020   Great Lakes   Lakeland                  89.34%              91.50%
10/30/2020   Northeast     Albany                    90.84%              91.06%
10/30/2020   Northeast     Caribbean                 93.03%              92.04%
                           Connecticut
10/30/2020 Northeast       Valley                    92.41%              87.81%

10/30/2020 Northeast       Greater Boston            91.34%              89.57%

10/30/2020 Northeast       Long Island               91.77%              88.79%
10/30/2020 Northeast       New York                  90.92%              97.91%

                           Northern New
10/30/2020 Northeast       England                   90.04%              88.79%

                           Northern New
10/30/2020 Northeast       Jersey                    91.70%              92.07%
10/30/2020 Northeast       Triboro                   89.63%              92.96%

10/30/2020 Northeast       Westchester               92.10%              88.57%
10/30/2020 Pacific         Bay-Valley                93.17%              95.50%
10/30/2020 Pacific         Honolulu                  95.05%              93.40%

10/30/2020 Pacific         Los Angeles               92.98%              95.97%

10/30/2020 Pacific         Sacramento                90.04%              93.58%
10/30/2020 Pacific         San Diego                 92.10%              96.84%

10/30/2020 Pacific         San Francisco             93.10%              94.97%
10/30/2020 Pacific         Santa Ana                 86.80%              96.20%
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Date         Area       District          First-Class     Marketing Mail

10/30/2020   Pacific    Sierra Coastal           93.15%              95.96%
10/30/2020   Southern   Alabama                  89.50%              72.95%
10/30/2020   Southern   Arkansas                 89.58%              83.97%
10/30/2020   Southern   Dallas                   81.28%              88.60%
10/30/2020   Southern   Ft. Worth                86.50%              91.54%

10/30/2020   Southern   Gulf Atlantic            84.27%              69.03%
10/30/2020   Southern   Houston                  89.88%              92.87%
10/30/2020   Southern   Louisiana                83.19%              77.45%
10/30/2020   Southern   Mississippi              89.63%              73.80%
10/30/2020   Southern   Oklahoma                 92.03%              92.82%
10/30/2020   Southern   Rio Grande               90.41%              93.49%

10/30/2020   Southern   South Florida            82.50%              84.37%
10/30/2020   Southern   Suncoast                 89.75%              93.61%
10/30/2020   Western    Alaska                   90.21%              84.90%
10/30/2020   Western    Arizona                  92.06%              90.60%

10/30/2020 Western      Central Plains           94.69%              88.56%
                        Colorado/Wyomin
10/30/2020 Western      g                        66.26%              55.88%
10/30/2020 Western      Dakotas                  92.30%              91.18%
10/30/2020 Western      Hawkeye                  91.92%              93.07%

10/30/2020 Western      Mid-Americas             87.70%              81.14%

10/30/2020 Western      Nevada Sierra            92.65%              96.07%
10/30/2020 Western      Northland                90.70%              89.41%
10/30/2020 Western      Portland                 94.11%              92.36%

10/30/2020 Western      Salt Lake City           92.38%              95.40%
10/30/2020 Western      Seattle                  89.83%              92.27%
